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14                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
15
     LAS VEGAS SUN, INC., a Nevada                  Case No. 2:19-CV-01667
16   corporation,
17                      Plaintiff,
                                                    OBJECTION TO NOTICE OF RELATED
18
     v.                                             CASE
19
     SHELDON ADELSON, an individual and as
20   the alter ego of News+Media Capital Group
     LLC and as the alter ego of Las Vegas Review
21   Journal, Inc.; PATRICK DUMONT, an
     individual; NEWS+MEDIA CAPITAL GROUP
22   LLC, a Delaware limited liability company;
23   LAS VEGAS REVIEW-JOURNAL, INC., a
     Delaware corporation; and DOES, I-X,
24   inclusive,

25                      Defendants.
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 1            Plaintiff Las Vegas Sun, Inc. (“Sun”), through its counsel of record, hereby submits this
 2   Objection to the Notice of Related Case filed by Defendants Sheldon Adelson, Patrick Dumont,
 3   News+Media Capital Group LLC, and Las Vegas Review Journal, Inc. (collectively “Defendants”),
 4   purportedly pursuant to LR 42-1.
 5            Under LR 42-1:
 6                   An action may be considered to be related to another action when:
 7                   (1) Both actions involve the same parties and are based on the same
                     or similar claim; (2) Both actions involved the same property,
 8                   transaction, or event; (3) Both actions involve similar questions of
                     fact and the same question of law, and their assignment to the same
 9                   district judge or magistrate judge is likely to effect a substantial
                     savings of judicial effort; (4) Both actions involve the same patent,
10
                     trademark, or copyright, and one of the factors identified in (1), (2),
11                   or (3) above is present; or (5) For any other reason, it would entail
                     substantial duplication of labor if the actions were heard by different
12                   district judges or magistrate judges.

13   The instant case and Defendants’ referenced case are not related here. Instead, Defendants’ Notice

14   bears indicia of forum shopping. Greenspun v. Stephens Media LLC, et al., 2:13-cv-01494-JCM-

15   PAL should not be considered to be a related action to Las Vegas Sun, Inc. v. Adelson, et al., 2:19-

16   CV-01667-RFB-BNW. The two cases fail to meet the criteria set forth in LR 42-1.

17            First, the two actions do not involve the same parties. The Plaintiffs in Greenspun v.

18   Stephens Media LLC, et al., 2:13-cv-01494-JCM-PAL were individuals and trusts (Brian L.

19   Greenspun, The Brian L. Greenspun Separate Property Trust, and the Amy Greenspun Arenson

20   2010 Legacy Trust), distinct from the Plaintiff in this action: the Las Vegas Sun, Inc.. The

21   Defendants in Greenspun v. Stephens Media LLC, et al., 2:13-cv-01494-JCM-PAL, including

22   Stephens Media LLC, Stephens Holding Company of Arkansas, SF Holding Corp., DR Partners,

23   Stephens Media Group, Stephens Media Group, Stephens Media Intellectual Property LLC, Warren

24   A. Stephens, and Michael Ferguson, are also distinct from the Defendants in this action: Sheldon

25   Adelson, Patrick Dumont, News+Media Capital Group LLC, and Las Vegas Review-Journal, Inc.

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 1            Second, the two actions are not based upon the same or similar claims. Greenspun v.
 2   Stephens Media LLC, et al., 2:13-cv-01494-JCM-PAL involved claims brought by Mr. Brian
 3   Greenspun, his daughter Amy Greenspun Arenson, and their family trusts, in their capacities as
 4   subscribers to the Las Vegas Review-Journal and/or minority shareholders in Las Vegas Sun, Inc.,
 5   to prevent a proposed transaction transferring ownership of a Mark and Domain Name License
 6   Agreement for the URL vegas.com from Stephens Media Intellectual Property LLC to Vegas.com,
 7   LLC, in exchange for Las Vegas Sun, Inc.’s agreement to terminate its 2005 Joint Operating
 8   Agreement between the Las Vegas Sun and Stephens Media LLC and to convey the URL
 9   lasvegassun.com to Stephens Media Intellectual Property LLC. In contrast, Las Vegas Sun, Inc. v.
10   Adelson, et al., 2:19-CV-01667-RFB-BNW is an action aimed at the predatory and anti-competitive
11   business conduct of Sheldon Adelson, his son-in-law Patrick Dumont, and their media companies
12   formed in late 2015, News+Media Capital Group LLC, and Las Vegas Review-Journal, Inc., aimed
13   at running the Las Vegas Sun newspaper out of business following Mr. Adelson’s December 2015
14   purchase of the Las Vegas Review-Journal from GateHouse Media LLC. The allegations in Las
15   Vegas Sun, Inc. v. Adelson, et al., 2:19-CV-01667-RFB-BNW, distinct from the 2013 case
16   referenced in Defendants’ Notice, involve anti-competitive conduct from December 10, 2015
17   through to the current date, including: (1) removing a publisher with a proven record of reversing
18   negative business trends, and installing a replacement publisher to execute a predatory scheme to
19   eliminate the Las Vegas Sun; (2) abusing the Review-Journal’s control over operations and
20   advertising of the two newspapers (and the accounting thereof) in such a way so as to either put the
21   Las Vegas Sun out of business or to so diminish its value that the Sun would be forced to sell to the
22   Review-Journal at a fire-sale price; (3) redesigning the Review-Journal’s front page and the Sun’s
23   box with the purpose of making the Sun’s presence on the Review-Journal’s front page less
24   noticeable and selling advertising products concealing the Sun’s front page presence; and (4)
25   threatening involuntary termination of the 2005 Joint Operating Agreement.
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 1            As described above, the two actions do not involve the same property, transactions, or
 2   events. Las Vegas Sun, Inc. v. Adelson, et al., 2:19-CV-01667-RFB-BNW, only involves anti-
 3   competitive conduct of the Defendants between December 10, 2015, and the current date.
 4   Greenspun v. Stephens Media LLC, et al., 2:13-cv-01494-JCM-PAL involves an effort to prevent
 5   a proposed transaction between various separate parties in August, 2013.
 6                   Similarly, the two actions do not involve similar questions of fact or the same
 7   questions of law and their assignment to the same district judge is unlikely to effect a substantial
 8   savings of judicial effort. There would be no “duplication of labor” as the parties, facts, questions
 9   of law are so dissimilar. Given the dissimilarity of the parties and the conduct alleged in the two
10   complaints, there will be no duplication of labor were Las Vegas Sun, Inc. v. Adelson, et al., 2:19-
11   CV-01667-RFB-BNW to remain as currently assigned. Moreover, the passage of time alone is
12   further evidence these actions are not related. Greenspun v. Stephens Media LLC, et al., 2:13-cv-
13   01494-JCM-PAL has been terminated for approximately six years. Since then, the Las Vegas
14   Review Journal has changed ownership two times, and its new owners have sought a campaign of
15   anti-competitive conduct targeted to diminish its only competitor. See ECF No. 1.
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 1            In sum, the cases are not based upon the same claims or parties, not based upon the same
 2   transactions or events, and not based upon the same questions of fact or law. As such, they are not
 3   related under any of the factors under LR 42-1. There would be no convenience, expense, or time
 4   saved—in fact it would be the opposite—and moreover, it would only cause “prejudice
 5   and . . . confusion” given the dissimilarities in the cases. See, e.g., Narvaes v. EMC Mortg. Corp.,
 6   No. CIV 07-00621 HG-LEK, 2009 WL 1269733, at *2 (D. Haw. May 1, 2009) (citing Huene v.
 7   United States, 743 F.2d 703, 704 (9th Cir. 1984) and Johnson v. Celotex Corp., 899 F.2d 1281,
 8   1285 (2d Cir. 1990)).
 9            DATED this 30th day of October, 2019.
10                                                    LEWIS ROCA ROTHGERBER CHRISTIE LLP
11

12                                                    By: /s/ E. Leif Reid
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 1                                       CERTIFICATE OF SERVICE
 2            Pursuant to Federal Rule of Civil Procedure 5(b), I certify that I am an employee of Lewis
 3   Roca Rothgerber Christie LLP, and that on this date, I caused the foregoing OBJECTION TO
 4   NOTICE OF RELATED CASE to be served by electronically filing the foregoing with the
 5   CM/ECF electronic filing system, which will send notice of electronic filing to the following:
 6                 J. Randall Jones, Esq.
                   Michael J. Gayan, Esq.
 7
                   Mona Kaveh, Esq.
 8                 KEMP, JONES, & COULTHARD, LLP
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 9                 Las Vegas, Nevada 89169
10            I further certify that a copy of the foregoing document was sent by electronic mail to the

11   following:

12                 Richard L. Stone, Esq.
                   Amy M. Gallegos, Esq.
13
                   David R. Singer, Esq.
14                 JENNER & BLOCK LLP
                   633 West 5th Street, Suite 3600
15                 Los Angeles, California 90071

16            DATED this 30th day of October, 2019.

17                                                    /s/ Autumn D. McDannald
                                                     An employee of Lewis Roca Rothgerber Christie LLP
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